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 AO 9l (Rev.   I   l/l l)   Criminal Comptainl



                                                 Uurso Srarps Drsrnrcr                        CoURT
                                                                        for the
                                                              District of New Mexico

                        United States of America                           )
                                        v.                                )
                             Sean Patrick Fosler                          )
                                                                          )
                                                                                   caseNo.   al-/?8 emt

                                   Defendant(s)


                                                        CRIMINAL COMPLAINT
          [, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s)              of      September 27-December 4,   2019      in the county   of                Dona Ana           in the
     State     and             District of         New Mexico         , the defendant(s) violated:

               Code Section                                                          Offense Description
18 U.S.c. $ 2251(a)                                    Production of child pornography
18 U.S.c. $2252A(a)(2)                                 Distribution of child pornography




                                                       I further state that I am a Homeland Security lnvestigations Special Agent
                                                       and that this complaint is based on the following facts:

         This criminal complaint is based on these facts:

SEE ATTACHED AFFIDAVIT




         d         Continued on the attached sheet.


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                                                                                                       Comp I aina nt's s i gna ture

                                                                                           Stephani Legarreta-HSl Special Agent
                                                                                                        Printed name and tille

Swom to before me and signed in my presence.


Dare:      A                .et     '     U, b      t UZ I
City and state:                           Las Cruces, New Mexico                    Honorable Carmen E. Garza, U.S. Magistrate Judge
                                                                                                        Printed name and tille
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                                             Affidavit

L I, Special Agent Stephani Legarreta, your Affiant, have been       a Special Agent   with
     Homeland Security Investigations (HSI) and have been so employed since January of
     2008. I am classified, trained and employed as a federal law enforcement officer with
     statutory amest authority charged with conducting criminal investigations of alleged
     violations of federal criminal statutes, including Title l8 of the United States Code. I am
     currently assigned as a criminal investigator for the Assistant Agent in Charge (ASAC),
     Las Cruces, New Mexico. Prior to my current position, I was a student for six (6) years
     at New   Mexico State University, where I received my Bachelors and Master's Degree in
     Criminal Justice. During the course of investigation, I have consulted with other HSI
     Agents and other law enforcement detectives and officers who have extensive experience

     investigating child exploitation. Your Affiant has conducted numerous state and federal
     investigations and received training, education, and experience with the identification and
     investigation of child exploitation violations. I have been personally involved with the
     execution ofarrest warrants and search warrants to search residences, businesses and
     seize materials relating to child exploitation.


2.   The information set forth in this affidavit was derived from my own investigation and/or
     communicated to me by other sworn law enforcement officers. Because this affidavit is
     submitted for the limited purpose of securing a criminal complaint, your affiant has not
     included each and every fact known to me concerning this investigation. Your affiant has
     set forth only those facts that your affiant believes are necessary to establish that probable

     cause   to support a criminal complaint against Sean Patrick Fosler for production of child
     pornography, in violation of 18 U.S.C. $ 2251(a), and distribution of child pornography,

     in violation   of l8 U.S.C.   $g 2252A(a)(2).


                                         Relevant Statutes

3.   Production of child pornography, in violation of 18 U.S.C. g 2251(a), provides "any
     person who employs, uses, persuades, induces, entices, or coerces any minor to engage

     in, or who has a minor assist any other person to engage in, or who transports any minor
     in or affecting interstate or foreign commerce, or in any Territory or Possession of the
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        United States, with the intent that such minor engage in, any sexually explicit conduct for
        the purpose ofproducing any visual depiction ofsuch conduct or for the purpose         of
        transmitting a live visual depiction of such conduct, shall be punished as provided under
        subsection (e)."


   4.   Distribution of child pornography, in violation of l8 U.S.C. $ 2252A(a)(2), provides "any
        person who knowing receives or distributes any child pornography that has been mailed,

        or using any means or facility of interstate commerce shipped or transported in or
        affecting interstate or foreign commerce by any means, including by computer . . . shall
        be punished as provided      in subsection (b)."


                                         Details of the Investisation


   5.   On December        2,202I, Homeland Security Investigations (HSI) El      Paso was notified by a

        cooperating source (CS)1 that Sean Patrick Fosler (hereinafter "Fosler"), who currently
        resides in Las Cruces, New Mexico, was producing live videos of himself and his minor
        stepdaughter (hereafter identified as V1) engaging in sexually explicit conduct.       Vl   is

        currently nine-years-old. The CS stated that he would chat with Fosler on the social
        media application, identified as "SnapChat." According to the CS, Fosler advised he
        would babysit      Vl   while her mother was away. The CS explained to law enforcement that
        during a snapchat live communication-which I know from my training and experience
        is essentially a live video stream-with Fosler, he witnessed Fosler in a room and heard
        Fosler call   Vl   by name. V1 then walked into the room and Fosler asked       Vl if she could
        "help him with this," with his erect penis exposed.     Vl   then began to manually stroke

        Fosler's erect penis with her hand. According to the CS, shortly after the live video
        stream, Fosler sent an image of     Vl   kneeling on the floor, and she was not wearing any
        underwear. The CS also stated that on another occasion, Fosler sent him an image which
        depicted   Vl   holding Folser's erect penis with her hands, and   Vl's   mouth was open. The

        CS further stated he believed the photo he had received from Fosler depicting V1 on her

        knees was taken in the same room that he had witnessed the snapchat live communication


I CS is being investigated in a separate child exploitation case and is facing potential charges in
that case.
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     because the background was the same. When questioned about when this occurred, the

     CS first stated the incidents described above could have happened in2019, and then the

     CS estimated the conduct perhaps occurred between May 2020 and June 2020.


6.   After receiving the information described above, your affiant learned that in September
     2)2O,ElPaso Police Department (EPPD) executed a search warrant on the CS' Snapchat
     account in an unrelated child exploitation case. On December 3,2021, the Snapchat
     search warrant return was provided to HSI for review. During the search of the Snapchat

     return, two Snapchat accounts were identified as being associated with Fosler. The
     Snapchat accounts were identified as "sfosler2" and "scott19572." Your affiant believes

     the accounts described above are associated with Fosler because of the names of the

     accounts as well as the fact that in both accounts, explicit pictures (without any minors)
     of Fosler were found. In those pictures you can either see Fosler's face or his significant
     other (the mother of   Vl)   identified Fosler. Law enforcement identified the following
     images within the retum:


         a.   File Name: chat-media_v 4-2019 -12-06- I 3-3 1 -
              34UTC-cpboy222-scottl9572-saved-l c9ab6 ca-fl7 c-45a4-aec9-58682fa7f00d-
              v4.spg
              Date on File System:121061201913:31:34 UTC
              Description: still image depicting a male erect penis with a small hand which
              appears to be a child gripping the penis. A white sleeve appears to be on the arm
              of the hand gripping the penis. In the background, there is a specific rug on the
              floor of the room which appears to be multi color patterns with a dark accent
              color. There is also an entertainment center seen in the background with
              Christmas lights along the entertainment center.

         b.   File Name : chat-media-v 4-2019 -12-06-1 3 -27 -
              4 SUTC-cpb oy 222- sc ottlg 5 7 Z-sav e d-fb 428222 -3 4 d0' 4239 - a0 4b -
              1c92698a28b6-v4jpg
              Date on File System:1210612019 13:27:48UTC
              Description: still image depicting what appears to be a white pre-pubescent
              female child on her hands and knees posing in a sexual manner and her buttocks
              is visible. The child is wearing a white shirt with no clothing from the waist
              down. The child has brown hair, and her hair is pulled back in a bun. Her body is
              facing away from the camera and her jeans are lying next to her. In the
              background, there is a specific rug on the floor of the room which appears to be
              multi color patterns with a dark accent color.
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                File Name: chat-media_v 4-2019-09 -27 -18-17 -
                08UTC-uzernameiserika-sfosler2-saved-8aa39d l9-9ce8-4dd9-a19a-d6e58091
                Date on File System : 09/2712019 18: 17:08 UTC
                Description: Still image depicting what appears to be a white pre-pubescent
                child's vagina with the camera focused in on the vagina. An index and middle
                finger which appear to be an adult male's fingers are seen to the side of the vagina
                resting near the vagina and slighting pulling open the vagina. In the background,
                a teal color sheet is seen and an off-white color wall.

          d.    File Name: custom_sticker--20 I 9- 12-04-08-28-
                I 9UTC-cpb oy222---e89060c9-9ae8-48B -b7a4-603e0b0 7 617 7 -v 4
                Date on File System: 1210412019 08:28:19 UTC
                Description: Still image depicting what appears to be a white pre-pubescent
                female on her hands and knees posing in a sexual manner. The female child's
                upper body isn't shown but from the waist down is nude and exposed. Her
                body is facing away from the camera and only her feet, legs and buttocks are
                exposed. In the lower right-hand corner is what appears to be an erect adult white
                male penis. In the background, there is specific bedding which appears to be a
                pattern of roses and Disney characters. To the side of the minor is a pair of
                female child underwear laying on a pink and blue comforter. At the bottom of the
                image is a space that states "send a chat" and a camera symbol to the left of it.

                File Name: custom_sticker--20                   1   9- 12-04-09   -Lz-4UTC-cpb oy222*-bd02b9cd-
                db5 6-4   5   9d- 97   73-   407 20297   a692-v 4
                Date on File System:12104/2019 09:12:54UTC
                Description: Still image depicting what appears to be the same white pre-
                pubescent female on her hands and knees posing in a sexual manner. The female
                child is wearing a white shirt with no clothing from the waist down. Her body is
                facing away from the camera and only her back side can be seen. In the
                background, there is specific bedding which appears to be a pattern of roses and
                Disney characters. To the side of the minor is a pair of female child underwear
                laying on a pink and blue comforter. At the bottom of the image is a space
                that states "send a chat" and a camera symbol to the left of it.

7.   On December 3,2021, an interview was conducted with the biological mother of                                Vl   and
     images a and b were shown to the mother. The mother identified                            Vl   in image b where
     her face could not be seen, however the mother recognized the living room, the hair bun
     on   Vl,   the pants on the floor next to            Vl,       and   Vl's   naked back side of her body. The

     mother recognized the bun and stated that she is the only one who styles                          Vl's   hair with
     that particular bun. In image a, the mother identified the living room, furniture, and rug
     in the living room.          A snip of the bedsheets depicted in images d and e were shown to the
     mother and she identified those sheets as belonging to                         Vl.   Image c was not shown to the
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        mother but a photo of the teal sheets she had in her room in the past was shown to law

        enforcement and the color of the sheets match the sheets seen in the image. The mother
        also said her walls in her residence are an off-white       color. Accordingly, based on my
        investigation and review of evidence in the case so far, I believe that Vlis the minor
        depicted in all the pictures described above. V1 was six-years-old on September 27,
        2019, and seven-years-old on December 4,2019. The dates were gained as the file
        information for each image.


8.      On December 3,2021, the New Mexico State Police obtained a state district court search
        warrant for the residence of Fosler. While conducting the search of the residence it was
        observed the rug in the living room along with other furniture matched the room in the

        images found by law enforcement on the CS' Snapchat search warrant return described
        above.


9   .   On Decemb er      3   ,   2021 , a forensic interview was conducted of V   1   .   V 1 denied any sexual

        abuse by Fosler. In my training and experience, this is not uncommon for victims                    of
        sexual abuse, especially when the abuse has been longstanding. There were drawings

        found in   Vl's   bedroom during the execution of the search warrant. Most of the drawings
        depicted a female and a male with the male's penis being inserted into the female.                  Vl's
        name is written on some of the drawings along with other names such as                   Vl's   sibling.
        Vl   was shown the drawings in the interview but stated she did not know who drew those
        drawings. It was very obvious when the drawings were shown to Vl, her demeanor
        drastically changed in a negative way. The drawings were shown to                    Vl's   mother and the
        mother stated the books the drawings were in were from           Vl's   second grade year which

        would have been in2020.

10.     A post-Miranda interview was conducted of Fosler and he admitted to using the Snapchat
        Application. Fosler specifically stated he opened         a Snapchat account approximately two

        weeks prior but never had one before. Later in the interview, Fosler admitted he had
        another Snapchat account but it was from years ago. Fosler then elected his right to
        remain silent and terminated the interview.
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   I 1 . On December    4, 2021, a Sexual Abuse Nurse Exam (SANE) was conducted on V I .
       While speaking with the nurse,      Vl   disclosed that Fosler made her touch his penis and
       made her walk around naked while Fosler took photos of         her.   Vl    stated this occurred            a

       long time ago.   Vl   also stated she felt comfortable because Fosler would bathe her.


   12. On December      4,2021,   Vl's   mother informed law enforcement that         Vl   told her, Vl
       touched Fosler's penis and that he did take the photos of     Vl   that the mother saw, further
       described above. V1 also stated she thinks this happened once or twice.


   13. In order for an individual to utilize the application Snapchat, they must be connected to

       the internet, which I know from my training and experience is an instrument of interstate
       commerce.


                                                   Conclusion


   14. Based on    all of the above information, your affiant submits there is probable cause to
       believe that Sean Patrick Fosler committed production of child pornography, in violation

       of   18 U.S.C . 5 2251(a) and distribution of child pornography, in      violation of l8 U.S.C.                 $

       22s2A(a)(2).


   Prosecution   of Sean Patrick Fosler was approved by Assistant      United States Attorney Marisa
   A. Ong.
                                                 STEPHANI M               Digitally signed by STEPHANI M
                                                                          LEGARRETA
                                                 LEGARRETA                Date: 2021.1 2.05 16:07:47   -O7',00',


                                                  Stephani Legarreta, Special Agent
                                                  Homeland Security Investigations
                                           /(\,
Subscribed and sworn before me this       h-Ou,



                                                  United States Magistrate Judge
